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   Attorneys for Non-party
 8 Richard Jacobs
                                UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10

11                                 SAN FRANCISCO DIVISION

12   WAYMO LLC,                                Case No. 17-cv-0939-WHA

13                Plaintiff,                   DECLARATION OF MARTHA BOERSCH
                                               IN SUPPORT OF NON-PARTY RICHARD
14          v.                                 JACOBS’ MOTION FOR
15                                             ADMINISTRATIVE RELIEF TO FILE
     UBER TECHNOLOGIES, INC.,                  CORRESPONDENCE UNDER SEAL
16
                  Defendant.
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                                                 DECLARATION OF MARTHA BOERSCH
                                                            Case No. 17-cv-0939-WHA
           Case 3:17-cv-00939-WHA Document 2283-1 Filed 11/27/17 Page 2 of 2



 1         1.      I, MARTHA BOERSCH, am an attorney licensed to practice law before the courts of
 2 the State of California and this Court. I make this declaration in support of Non-party Richard

 3 Jacobs’ Motion for Administrative Relief to File Correspondence Under Seal. I have personal

 4 knowledge of the facts stated herein and, if called upon, could and would testify competently thereto

 5 under oath.

 6         2.      Mr. Jacobs seeks to file the entirety of his correspondence to the Court, copying all
 7 parties, under seal. A true and correct copy of this correspondence is attached hereto as Exhibit A.

 8         3.      The letter contains personal identifying, confidential, and sensitive information about
 9 Mr. Jacobs.

10         I declare under penalty of perjury under the laws of the United States that the foregoing is true
11 and correct. Executed on this 27 day of November 2017, in Oakland, California.

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13                                               /s/ Martha Boersch
                                                 Martha Boersch
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                                                    2       DECLARATION OF MARTHA BOERSCH
                                                                        Case No.: 14-cr-0580-PJH
